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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

MARY HAREMZA and JACOB
MURRAY, in his capacity as the                   Civil Action No. 2:22-cv-00043 PGS-TJB
executor of the estate of Stacy Murray,
on behalf of themselves and all others
similarly situated,

               Plaintiffs,                            STIPULATION OF DISMISSAL
                                                           WITH PREJUDICE
v.

JOHN DOES Nos. 1-15, AANIIIH
NAKODA FINANCE, d/b/a BRIGHT
LENDING, TERRY BROCKIE, DUSTIN
MONROE, TRACY KING, KENNETH
HELGESON, CHRIS GARDIPEE,
ROMONA HORN and JOHN HAWLEY,

               Defendants.


        IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

counsel, that that the above entitled action be, and the same hereby is, dismissed with prejudice,

without costs to either party as against the other and without right of appeal, pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure.

By:/s/ John J. Grogan                            By: /s/ Eric Wong
John J. Groban, NJ Bar No. 026971993             Eric Wong, NJ Bar No. 018972007
Counsel for Plaintiffs                           Counsel for Defendants Aaniiih Nakoda
LANGER, GROGAN & DIVER, PC                       Finance, LLC, d/b/a Bright Lending, Terry
1717 Arch Street, Suite 4020                     Brockie, Dustin Monroe, Tracy King, Kenneth
Philadelphia, PA 19103                           Helgeson, Christopher Gardipee, Ramona Horn
Telephone: (215) 320-5660                        and John Hawley
Facsimile: (215) 320-5703                        GREENBERG TRAURIG, LLP
Email: jgrogan@langergrogan.com                  500 Campus Drive, Suite 400
                                                 Florham Park, NJ 07932
                                                 Telephone.: (973) 360-7900
                                                 Facsimile: (973) 301-8410
                                                 Email: wonge@gtlaw.com




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